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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:06CR304
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
JOSE ESTRADA-MENDEZ,                              )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion of Michael L. Smart to withdraw as
counsel for defendant Jose Estrada-Mendez (Estrada-Mendez) because Mr. Smart is
joining the office of the Federal Public Defender in the Northern District of Iowa (Filing No.
195). Mr. Smart was appointed as counsel for the defendant on September 29, 2006,
pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice
Act Plan for the District of Nebraska (Filing No. 14).


       IT IS ORDERED:
       1.     Mr. Smart’s motion to withdraw (Filing No. 195) is granted, and Mr. Smart has
leave to withdraw as counsel for Estrada-Mendez.
       2.     Joseph L. Howard, 1001 Farnam Street, Omaha, NE 68102, (402) 341-0700,
is appointed to represent Estrada-Mendez for the balance of these proceedings. Mr.
Howard shall file an appearance in this matter forthwith.
       3.      Mr. Smart shall forthwith provide Mr. Howard with the discovery materials
provided the defendant by the government and such other materials obtained by Mr. Smart
which are material to Estrada-Mendez's defense.


       IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to Mr.
Howard and the Office of the Federal Public Defender.


       IT IS FURTHER ORDERED that Mr. Smart shall submit his final CJA voucher to the
office of the Federal Public Defender within forty-five (45) days of this order.
       DATED this 7th day of June, 2007.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
